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            EXHIBIT A
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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO
                                   SOUTHERN DIVISION


 lnITTTED STATES OF AMERICA,

                         Plaintiff,                     Case No. 1:22-cv-329

 V.


 Tl-ESTATE OF IDAHO,

                         Defendant.


                         DECLARATION OF LEE A. FLEISHER, M.D.

          I, Lee A. Fleisher, M.D., of the Centers for Medicare & Medicaid Services (CMS), declare

that the following statements are true and correct to the best of my knowledge and belief, and that

they are based on my personal knowledge as well as information provided to me in the ordinary

co se of my official duties.

          1.     I am employed by the United States Department of Health and Human Services

CHHf) in CMS. I am the Chief Medical Officer and Director of the Center for Clinical Standards
and   fuality for CMS. In this capacity, I am responsible for executing all national clinical, quality,

and afety standards for all Medicare and Medicaid-certified healthcare facilities and providers, as

well as establishing coverage determinations for items and services that improve health outcomes

for ledicare beneficiaries.

      \ 2.       I am also currently a Professor Emeritus of Anesthesiology and Critical Care at the

University of Pennsylvania Perelman School of Medicine and continue to provide anesthesia care

apprbximately three times per month at the Hospital of the University of Pennsylvania. From 2004

until 2020, I was the Robert D. Dripps Professor and Chair of Anesthesiology and Critical Care


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an , Professor of Medicine at the University of Pennsylvania and Chair of the Department of

Jsthesiology and Critical at the Hospital of the University of Pennsylvania (HUP) and Penn

PJsbyterian Medical Center. Prior to joining the University of Pennsylvania, I was an attending

anf sthesiologist at The Johns Hopkins Hospital (JHH) from 1992-2003, where I provided

obretrical anesthesia and anesthesia for emergency surgical procedures. While at JHH, I was

•printed in 1999 as the Clinical Director of Operating Rooms, a position I held until I moved to

the University of Pennsylvania in 2004.

         3.         In addition, I have held a number of other faculty, hospital, and administrative

ap I ointments, which are set forth in my curriculum vitae, which is attached hereto as Ex. A.

   ong other appointments listed on my CV, since 2007 I have served as an elected member of

   National Academy of Medicine (NAM) (formerly Institute of Medicine), and between 2016

an , 2018, I served as a member of NAM's Committee on Reproductive Health Services for

Assessing the Safety and Quality of Abortion Care, and was an author of the 2018 report on The

Sa ety        and    Quality   of   Abortion    Care    m    the   United    States,   available   at

htt1 s://www.ncbi.nlm.nih.gov/books/NBK507236/. My work with this committee on safety of

ab rtion services was focused on risks to women both from the abortion procedure itself and from

de ays in obtaining abortion procedures. I was also the President of the Medical Board of HUP

fr, m 2014-16 and a member of the Board of Trustees of HUP from 2012-16, in which capacity I

ovr rsaw the review and approval of hospital policies and procedures including those pursuant to

EJ.TALA. Additionally, I was Chair of the Credentials Committee of HUP from 2008-14, in

w ich capacity I oversaw the evaluation and credentialing of all medical providers on the staff.
  1      4.         I graduated with a B.A. from the University of Pennsylvania in Molecular Biology

in 1981. I earned an M.D. from the State University of New York at Stony Brook in 1986. I


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co pleted an internship in surgery at the University of Minnesota from 1986 to 1987, and a

res dency in anesthesiology at Yale University from 1987 to 1990.

        5.     In my thirty-plus years as a medical doctor, I have had extensive experience

     iding anesthesia for obstetrical care, including through the provision of anesthesia for the

trerment of pregnancy-related conditions that threaten the life and/or health of pregnant patients

as · ell as review of complications of care in my role as Chair of the Department. For example, in

my practice at JHH from 1992-2003, I provided emergency obstetrical care approximately 3 times

per month. In my role as Clinical Director of the Operating Rooms at JHH, I evaluated and

<let rmined the urgency of proceeding to surgery for all emergency surgical cases, including

ectt pic pregnancies, and provided anesthetic care for many pregnant individuals requiring

em rgent care including vaginal bleeding and preeclampia/eclampsia.

       6.      In addition, through my official duties at CMS, I am familiar with federal Medicare

an Medicaid requirements, as well as data and other information collected by CMS and HHS

regfding medical risks related to pregnancy. And based on my role at CMS, my roles as a medical

praritioner, and my leadership roles in several hospitals and medical organizations, I am

ex,erienced with the requirements of the Emergency Medical Treatment and Labor Act

(EITALA), 42 U.S.C. § 1395dd, including how they arise in the actual practice of medicine.

                                 IDAHO LAW AND EMTALA

       7.      I understand that, if the Idaho law goes into effect on August 25, 2022, "[e]very

per . on who performs or attempts to perform an abortion . . . commits the crime of criminal

abo ion" and that the crime of criminal abortion is a felony that is punishable by up to five years

in rison and loss of medical license. Idaho Code§ 18-622(2). I further understand that Idaho law

deJnes "abortion" as "the use of any means to intentionally terminate the clinically diagnosable


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pre nancy of a woman with knowledge that the termination by those means will, with reasonable

lik, lihood, cause the death of the unborn child." Idaho Code § 18-622. This definition of "abortion"

in Te Idaho Code covers some procedures that would not be characterized as an abortion in the

mercal community. In some circumstances in which a pregnancy is nonviable and/or termination

of regnancy is necessary to treat a pregnant patient's medical condition, physicians may not

co ,!sider that treatment to be properly characterized as an abortion.

            8.     I further understand that Idaho law includes an "affirmative defense" allowing

ph sicians to avoid criminal liability only if they can prove, among other things, that an abortion

wal " necessary to prevent the death of the pregnant woman." Idaho Code§ 18-622(3)(a)(ii).

     I      9.     In addition, I am aware of EMTALA's requirements for hospitals participating in

Mebicare. In particular, EMTALA requires that "[i]f any individual ... comes to a hospital and

the hospital determines that the individual has an emergency medical condition, the hospital must

         ide either- (A) with the staff and facilities available at the hospital, for such further medical

ex       ination and such treatment as may be required to stabilize the medical condition, or (B) for

trarfer of the individual to another medical facility" in accordance with certain requirements in

sub ection (c) of the statute. 42 U.S.C. § 1395dd. A hospital may not discharge or otherwise

tra sfer a person with a medical condition who has not been stabilized unless the individual

req ests a transfer or a physician certifies that the benefits of a transfer to another medical facility

         eighs the increased risks to the patient. 42 U.S.C. § 1395dd(c).

            10.    I am aware that EMTALA defines "emergency medical condition" as: "(A) a

me , ical condition manifesting itself by acute symptoms of sufficient severity (including severe

pai I ) such that the absence of immediate medical attention could reasonably be expected to result

m        i) placing the health of the individual (or, with respect to a pregnant woman, the health of the


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          an or her unborn child) in serious jeopardy, (ii) serious impairment to bodily functions, or

          serious dysfunction of any bodily organ or part; or (B) with respect to a pregnant woman who

is aving contractions-(i) that there is inadequate time to effect a safe transfer to another hospital

be ore delivery, or (ii) that transfer may pose a threat to the health or safety of the woman or the

un lorn child." 42 U.S.C. § 1395dd(l).

             11.     I am aware that EMTALA defines "to stabilize" to mean "to provide such medical

tre tment of the condition as may be necessary to assure, within reasonable medical probability,

tha no material deterioration of the condition is likely to result from or occur during the transfer

of11 e individual from a facility." 42 U.S.C. § 1395dd(e)(3).

                   EMERGENCY MEDICAL CONDITIONS IMPLICATED BY IDAHO LAW

             12.     Based on my experience as a medical practitioner and as the Chief Medical Officer

at MS, I know that pregnant patients experience a number of medical conditions that fall within

the definition of "emergency medical condition" set forth in EMTALA. This is because for these

me ical conditions, "in the absence of immediate medical attention," which can include
      I




mo ·toring, treatment, or both, the condition "could reasonably be expected to result in" the

pattnt's health being "plac[ed] ... in serious jeopardy," "serious impairment to [the patient's]

bolily functions," or "serious dysfunction of any bodily organ or part [of the patient]," as described

mor fully below. I also know that the appropriate stabilizing treatment that is necessary to avoid

"serous jeopardy," "serious impairment," and "serious dysfunction," which would otherwise

resTt from those conditions, is very frequently-and in some cases nearly always- a form of

tre        ent that is covered by the definition of "abortion" set forth in the Idaho Code. EMTALA

req ires providing such care independent of whether doing so is, or well before doing so becomes,

nee ssary to prevent the patient's death. As explained further below, in some cases where the


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patent's health is unambiguously threatened, it may be less clear whether there is also a certainty

of eath without stabilizing treatment-and a physician may not ever be able to confirm whether

deaJth would result absent immediate treatment. EMTALA does not allow leaving the patient

unt   ated when doing so would irreparably risk or hann their health, as with the conditions

disrssed below.

        13.     For example, a pregnant individual may present to an emergency department with

bletding, pelvic pain or severe abdominal pain that, when evaluated, is detennined to be caused

by an ectopic pregnancy. An ectopic pregnancy is when an embryo or fetus grows outside of the

ute s, frequently in a fallopian tube. An ectopic pregnancy in a fallopian tube is an emergency

me , ical condition that places the patient's life injeopardy because it will cause the fallopian tube

tor pture and in the vast majority of cases cause significant and potentially fatal internal bleeding.

In   ost cases, the physician cannot reasonably know when that rupture will occur-it could

haten within minutes, hours or days of 1he physician's examination- but without immediate

treTment it is reasonably probable that the patient's condition will continue to deteriorate.

Acaordingly, given this serious risk of unknown imminence, where a patient suffers from an

ectJpic pregnancy, especially in a fallopian tube, the appropriate stabilizing treatment is nearly

al+ys emergency surgery and removal of the involved fallopian tube, including the embryo or

ferr, or administration of a drug to cause embryonic or fetal demise. One of these two treatments

is necessary because of the inevitability that the fallopian tube will rupture absent surgery or

inte ention with medication that causes embryonic or fetal demise. There is an extremely high

ris that such rupture would result in the patient bleeding to death. Because a physician can

det rmine with reasonable certainty that an ectopic pregnancy exists and that, depending upon the

loc ltion, a rupture will occur as a result, but the physician cannot discern with reasonable certainty


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    ime at which that rupture will occur, it is necessary that an ectopic pregnancy be treated

    ediately or else the patient's life and health will likely continue to deteriorate and remain at

con tant and ongoing risk.

       14.     Even though a physician at a hospital where EMTALA applies could conclude that

this treatment is required for an ectopic pregnancy, particularly one involving a fallopian tube,

Ida o law prohibits this treatment. Idaho's definition of abortion would include both the medical

and surgical treatment described in   ,r   13, because both cause embryonic or fetal demise in a

cli ·cally diagnosable pregnancy. This treatment would be prohibited by Idaho law even though

an ctopic pregnancy has no chance of maturing into a viable child. Additionally, despite the

ex emely serious risks posed by an ectopic pregnancy, particularly in a fallopian tube, and the

ine itability of a rupture, which are apparent at the time when treatment is required to address

tho e risks, a physician may not be able to establish or know, with certainty, that termination of

the pregnancy is "necessary to prevent the death of the woman." However, that does not change

the fact that the patient' s condition will very likely deteriorate without the necessary treatment,

an that failure to provide the necessary treatment will seriously jeopardize the patient's health

an or life in the process.

       15.     As another example, a pregnant individual may present to the emergency room with

che t pain and severe shortness of breath, requiring supplemental oxygen to keep their blood

ox gen levels in reasonable range. The patient may be early in or mid-pregnancy and during the

ev uation may be diagnosed with severe heart failure related to long-standing pulmonary

hy ertension (i.e., elevated blood pressure in the vessels to the lungs), or a massive pulmonary

em~ lism (i.e., a blood clot to the lungs). For some patients, pregnancy can substantially

ex cerbate the heart failure and initially cause the patient to have difficulty breathing at rest that


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ca then turn into further complications from a lack of oxygen as well as a drop in blood pressure.

     e pregnant patients may present to the emergency room when they are in extremis, and a

ph sician will need to place the patient on a ventilator and prescribe medications to maintain the

blo d pressure. Severe heart failure, especially from pulmonary hype1iension or a pulmonary

emlbolism, can be an emergency medical condition because if left untreated, the patient's condition

wil continue to deteriorate and cardiac arrest or inability to oxygenate the patient could result,

wh ch places the patient's life, health, and bodily organs in jeopardy. In some circumstances, the

app opriate stabilizing treatment for a patient suffering from severe heart failure is treatment of

the heart and blood vessels through medications. In severe cases, the physician may determine

tha , despite other medical treatment, the patient continues to have worsening deterioration of

bl1 d oxygenation and maintenance of blood pressure. In such circumstances, the physician could

collude that termination of the pregnancy is medically necessary because, by virtue of the



   I
severity of the symptoms, there is a high probability of the pregnant patient's death or impairment

or evern dysfunction of bodily organs (such as the lungs, heart, and kidneys) absent that

telmat10n.

       16.     Even though a physician at a hospital where EMTALA applies could conclude that

this treatment is required for severe heart failure, Idaho law prohibits this treatment because it

wo Id cause embryonic or fetal demise . This treatment would be prohibited by Idaho law even

tho gh the pregnant individual with this condition would most likely not survive to carry the

prelnancy materially further. Additionally, despite the extremely serious risks posed by severe

hear
   ! failure, which are apparent at the time when treatment is required to address those risks, a

phy ician may not be able to establish or know, with certainty, that termination of pregnancy is

"nej essary to prevent the death of the woman.'~However, that does not change the fact that the
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patrnt's condition will very likely deteriorate without the necessary treatment, and that failure to

provide the necessary treatment will seriously jeopardize the patient's health and/or life in the

pro ess.

         17.     As a third example, a pregnant individual may present to the emergency department

witi nausea and shortness of breath, which an initial evaluation may diagnose as resulting from

new onset of high blood pressure. Pre-eclampsia is when high blood pressure and high levels of

proLin in the urine develop in a pregnant individual, usually midway through the pregnancy. Pre-

ect    psia can quickly progress to eclampsia with the onset of seizures, and a physician cannot

discern when that progression to seizures will occur with reasonable medical certainty in all cases,

espt cially when the blood pressure cannot be controlled. Pre-eclampsia and eclampsia are

emergency medical conditions because they place the patient's life in jeopardy or can cause serious

imdairment to bodily functions. Without treatment for severe pre-eclampsia/eclampsia, the

pati~nt' s condition is reasonably likeIy (indeed nearly certain) to deteriorate. Specifically, the

seirres that characterize the transition from pre-eclampsia to eclampsia can cause coma,

pneronia from the aspiration of stomach contents, kidney failure, stroke and even cardiac arrest.

      le the only curative treatment for pre-eclampsia or eclampsia is delivery of the fetus, in most

and many cases, the pregnant patient with pre-eclampsia will respond reasonably promptly to

me ications to control their blood pressure, reduce their chances of seizures, and mature the fetus'

lunls to allow delivery as soon as possible. However, in some cases in which high blood pressure

and or the seizures of severe pre-eclampsia/eclampsia cannot be controlled, termination of the

pre nancy is medically necessary. In such cases, absent termination of the pregnancy, death or

sevre bodily dysfunction of the pregnant patient is the reasonably probable outcome.




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           18.     Even though a physician at a hospital where EMTALA applies could conclude that

thi treatment is required for severe pre-eclampsia or eclampsia, Idaho law prohibits this treatment

bee use the treatment would cause fetal demise. This treatment would be prohibited by Idaho law

eve though the pregnant individual with this condition would most likely not survive to carry the

pre nancy materially further. Additionally, despite the extremely serious risks posed by this severe

preeclampsia/eclampsia, which are apparent at the time when treatment is required to address those

ris1s, a physician may not be able to establish or know, with certainty, that termination of

pregnancy is "necessary to prevent the death of the woman." However, that does not change the

fac that the patient' s condition will deteriorate without the necessary treatment, and that failure to

pr       ide the necessary treatment will seriously jeopardize the patient's health and/or life in the

projcess.

            19.    As a fourth example, a pregnant individual may present to the emergency

def artment with a life-threatening infection of the uterine contents. Such an infection may occur

whl n there is premature rupture of the membranes (PROM), which is when the amniotic sac

sulounding the embryo or fetus ruptures and the uterus or embryo/fetus can become infected. The

in rtion can progress to sepsis wherein multiple body organs and functions can start failing

incrding the heart, lW1gs and blood pressure, which could lead to death. Sepsis can progress

qul·ckly, and a physician cannot discern with reasonable medical certainty if or when the sepsis

wi~l resolve or result in organ failure or death without immediate treatment. Septic infection is an

etrgency medical condition because it places the patient's life and health in jeopardy or can

cause serious impairment to bodily functions; if untreated, it can lead to kidney failure and even

caf iac arrest. In many cases, the pregnant patient can respond to treatment with antibiotics and

corurrently be administered medications to support their blood pressure. However, if the


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anti iotics cannot control the infection, then removal of the source of the infection is necessary-

and in circumstances in which the embryo or fetus is infected and is causing the sepsis, that

nee ssary treatment could include removal of the embryo or fetus, which may result in embryonic

or letal demise. Absent this treatment for severe sepsis unresponsive to antibiotics and blood

pre, sure support, the patient' s condition will deteriorate, and death or severe bodily dysfunction

of the pregnant patient is the reasonably probable outcome.
   I
       20.     Even though a physician at a hospital where EMTALA applies could conclude that

this treatment is required for severe sepsis, Idaho law prohibits this treatment because the treatment

   1
wo ld cause embryonic or fetal demise. This treatment would be prohibited by Idaho law even
   I
thol!lgh the pregnant individual with this condition would most likely not survive to carry the

prerancy materially further. Additionally, despite the extremely serious risks posed by severe
sepr s, which are apparent at the time when treatment is required to address those risks, a physician

mal not be able to establish or know, with certainty, that termination of pregnancy is "necessary

to prevent the death of the woman." However, that does not change the fact that the patient' s
   I
condition will deteriorate without the necessary treatment, and that failure to provide the necessary

tre~ent will seriously jeopardize the patient' s health and/or life in the process.

   I   21.     As a fifth example, a pregnant individual may present to the emergency department

wit~ vaginal bleeding. Vaginal bleeding may occur in some of the previously described conditions,

but it can also be a result of a placental abruption, which occurs when the placenta partly or

co pletely separates from the inner wall of the uterus. Placental abruption with uncontrolled and

cat strophic bleeding is an emergency medical condition that places the patient's life in jeopardy

or can cause serious impairment to bodily functions. This is because catastrophic and/or

unclr ntrolled bleeding can lead to shock, which can result in organ dysfunction such as kidney


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fail e, and even cardiac arrest. The placental abruption can be diagnosed in the emergency

department by examination, including ultrasound, to check the location of the bleeding. If bleeding

wilJ not stop, then a physician could conclude that the necessary stabilizing treatment for the

uncr ntrolled and catastrophic bleeding includes removal of the fetus or the entire uterus (i.e. a

hysr rectomy, which also results in termination of the pregnancy), which could result in fetal

de1ise. Absent this treatment for placental abruption where indicated, the patient's condition will

det€riorate and death or severe bodily dysfunction of the pregnant patient is the reasonably
    I
probable outcome.

           22.    Even though a physician at a hospital where EMTALA applies could conclude that

thi treatment is required for placental abruption, Idaho law prohibits this treatment because

terT ination would cause fetal demise. This treatment would be prohibited by Idaho law even

thor gh the pregnant individual with a placental abruption would most likely not survive to carry

the pregnancy materially further. Additionally, despite the extremely serious risks posed by

plaI!ental abruption with catastrophic or uncontrolled bleeding, which are apparent at the time

wh n treatment is required to address those risks, a physician may not be able to establish or know,

        certainty, that termination of pregnancy is "necessary to prevent the death of the woman."

        ever, that does not change the fact that the patient's condition will deteriorate without the

nee ssary treatment, and that failure to provide the necessary treatment will seriously jeopardize

the patient' s health and/or life in the process.

           23.    The emergency medical conditions described in paragraphs 13-22 above are just

so e examples of those that present in pregnant patients, as to which the treating physician could,
    j




m       e exercise of their professional medical judgment, determine that the stabilizing treatment

        Id include termination of pregnancy. Myriad other medical conditions that present in pregnant


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pat· nts may cause acute symptoms that place the health of the pregnant patient in serious jeopardy,

ore se risk serious impairment to the pregnant patient's bodily functions or dysfunction of a bodily

organ or part. How emergency conditions present in a pregnant patient will often vary depending
    I
on re patient's specific circumstances, and termination of pregnancy may be a necessary treatment

to slabilize the patient based on their physical circumstances.

        24.       For each of the medical conditions described above (as well as other emergency

me •ical conditions that present in pregnant patients), in some cases, termination of pregnancy

would be the only option to ensure that a pregnant patient will not die, or suffer a serious

imJairment to their bodily functions, or serious dysfunction of any bodily organ or part as a result

of t}eir emergency medical condition. In that regard, a physician could conclude that termination

of t~e pregnancy is the only way to stabilize the pregnant patient as required by EMTALA.

        25.       In other words, pregnancy termination may be necessary to ensure that "no material

detJioration of the patient's condition is likely to result from or occur during the transfer

[including discharge] from a facility," as is required by EMTALA. 42 U.S.C. § l 395dd(e )(3). Yet,

und r the Idaho abortion ban, physicians at hospital emergency rooms could be prosecuted for

ad+nistering necessary stabilizing treatment to patients with these conditions despite knowing

that the patients will suffer severe bodily impairment or serious jeopardy to their health without
    I
sucj treatment.

        26.    Indeed, under the definition of "criminal abortion" in the Idaho law, this is true

eve~ in cases in which the physician knows that there is no chance that the pregnancy will result

in a live birth. Because the Idaho law prohibits termination of any pregnancy that would "cause

the <ileath of the unborn child," a physician would be forbidden from administering treatment even

if:+ a patient presents with an emergency medical condition; (2) which will render it impossible


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for   e pregnancy to result in a live birth; but (3) embryonic or fetal demise has not yet occurred

      e time the patient arrives at the hospital. Under those circumstances, a physician following

Ida o law would be required to wait for embryonic or fetal demise before stabilizing the pregnant

patient, causing the pregnant patient to suffer through the emergency medical condition, often with

grer pain and increased risk to their health and/or life.

         27.    When stabilizing treatment is provided at a hospital that includes termination of the

pregnancy (including "abortion" as defined under Idaho law), that procedure may require the

pjicipation of numerous personnel- not just the physician performing the procedure, but also

ftei uently nurses, operating room technicians, anesthesiologists or certified registered nurse

anejsthetists, pharmacists, physician's assistants, or other medical health professionals.

               PREVALENCE OF EMERGENCY PREGNANCY CONDITIONS

         28.    Based on my role at CMS and my experience in public health, I am aware of

sta1listics regarding the prevalence of emergency pregnancy conditions, and I am experienced in

idel tifying reliable data about those conditions. Data relating to health risks associated with

pref nancy confirms that a significant percentage of pregnant patients experience emergency health

co, ditions, including conditions as to which termination of pregnancy is the appropriate stabilizing

trel tment.

         29.    According to the Centers for Disease Control and Prevention (CDC), the overall

marrnal mortality rate in the United States in 2020 was 23.8 maternal deaths per I 00,000 live

bir I s. See Donna L. Hoyert, CDC, Maternal Mortality Rates in the United States, 2020 (Feb. 23,

20 2),    https://www.cdc.gov/nchs/data/hestat/matemal-mortality/2020/matemal-mortality-rates-
  1
20I O.htm. That represents an increase from 17.4 and 20.1 maternal deaths per 100,000 live births




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in       0 18 and 2019, respectively. See id. The maternal mortality rates for Black women are

sig ·ficantly higher and have similarly increased between 2018 and 2020. See id.

           30.         According to CDC, for each maternal death, more than 50 pregnant women suffer

s1g ificant short- or long-term consequences to their health. See CDC, Severe Maternal Morbidity:

Rat?             per         10,000      Delivery      Hospitalizations      (Feb.      10,         2020),

httJs://www.cdc.gov/reproductivehealth/maternalinfanthealth/smrn/rates-severe-morbidity-

in+ator.htm. These consequences include heart attacks, sepsis, eclampsia, and kidney failure. Id

           31.         Pregnant patients regularly come to hospitals with emergency medical conditions,

incll ding the conditions discussed above.

           32.         I am aware that the American College of Obstetricians and Gynecologists (ACOG)

has reported, for instance, that ectopic pregnancies account for approximately two percent of all

pre~ancies, though the incidence could be significantly higher given the lack of recent national

su1 eillance data. See ACOG Practice Bulletin No. 193 (Mar. 20 I 8) (attached as ExhibitB). I am

also aware that data from 2011 to 2013 shows that ruptured ectopic pregnancies account for 2.7

perL nt of all pregnancy-related deaths and are the leading cause of hemorrhage-related maternal

de+s.      See id

           33.         I am also aware that CDC estimates that pre-eclampsia happens in 1 in 25

prel nancies.          See   CDC,     High Blood Pressure During Pregnancy (May                6,   2021 ),
     I
https://www.cdc.gov/bloodpressure/pregnancy.htm I am further aware that ACOG has reported

that the rate of pre-eclampsia in the United States increased by 25 percent between 1987 and 2004.

See ACOG Practice Bulletin No. 222 (June 2020) (attached as Exhibit C).

           34.         I am also aware that ACOG has reported that cardiovascular disease-    including as

a relr ult of hypertension- affects approximately one to four percent of pregnancies in the United


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Sta es per year and that cardiovascular disease accounts for 26.5 percent of pregnancy-related

dea hs in the United States. See ACOG Practice Bulletin No. 212 (May 2019) (attached as Exhlbit

D). ACOG additionally reports that hypertensive disorders affect up to ten percent of pregnancies

an that, in those affected pregnancies, pregnant persons are eight to thirteen times more likely to

suf ie r a myocardial infarction (heart attack).

          35.    Further, I am aware that ACOG has reported that premature rupture of membranes

(PJ OM) complicates two to three percent of pregnancies in the United States. See ACOG Practice

But etin No. 217 (Mar. 2020) (attached as Exhibit E). ACOG has also reported that intraamniotic

infection occurs in 15 to 25 percent of preterm PROM cases and postpartum infection occurs in 15

to   15percent of cases, with the risk higher in cases involving earlier gestational ages.
          36.     As described above, these conditions frequently require emergency care, including

ab+ ion, and given these natioowide numbers, it is not surprising that pregnant patients in Idaho

are r mong persons who require treatment for medical conditions that frequently present as medical

em! rgencies. For example, Idaho providers made claims to Medicaid and the Children's Health

lnsr ance Program ("CHIP") for payment for: 98 ectopic pregnancies that were treated with

prelnancy termination in 2018; 72 ectopic pregnancies were treated with pregnancy termination

in 019; 103 ectopic pregnancies were treated with pregnancy termination in 2020; and 108 ectopic

pre nancies were treated with pregnancy termination in 2021 . Notably, these numbers are based

onL on patients who are Medicaid or CHIP beneficiaries, not all patients in Idaho-which means

the umber of patients who presented with ectopic pregnancies in Idaho during those years is likely

        higher overall.

          37.     As discussed above, similar treatment for ectopic pregnancy will no longer be

avr able under Idaho's new abortion law. Based on the consistent historical data, it is a near-


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ce       inty that patients with ectopic pregnancies will continue to require emergency medical
     I
tre tment that qualifies as a prohibited "abortion" under Idaho law- just like the hundreds of

pati nts who have needed that treatment in recent years. Without access to that treatment, the

ine itable result for those patients will be substandard care and dire consequences for their health.

           38.     With respect to other emergency pregnancy conditions, including those described

above in paragraphs 15-22, there is not similar readily available Medicaid/CHIP data. This does

not L flect an absence of those conditions for patients in Idaho, but rather only the realities of how

host itals and other providers track diagnose/s and treatments, and how the federal government and

priJ ate insurance companies reimburse for the costs of health care. However, based on my

exp[ rience practicing medicine for more than 30 years, it is virtually certain that pregnant persons

in Itho present themselves in emergency rooms across the state each year with these emergency

cont itions and that the proper treabnent in at least some cases would be termination of the

pregnancy. Under the Idaho law, that treatment would be unavailable, and the consequence of

den ing that care to those patients will be tragic.



           I declare under penalty of perjury that the foregoing is true and correct. Executed this 8th

day of August, 2022 in Philadelphia, PA.




                                                           ~42 -        Lee A. Fleisher, M.D.




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